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September 7, 2022

Via ECF

Honorable Anne Y. Shields, U.S.M.J.
United State District Court
Eastern District of New York
100 Federal Plaza, Courtroom 840
Central Islip, NY 11722

Re:        Healthcare Advanced Risk Technologies, Inc. et al. v. Mills et al.
           Case No.: 2:22-cv-04192-JS-AYS

Dear Judge Shields:

        This firm represents the Plaintiffs in this litigation. Under Your Honor’s August 8, 2022
scheduling order, counsel for all parties conferred and agreed to submission of a proposed schedule
for expedited discovery. Counsel for all parties also agreed to extend certain deadlines contained
in the parties’ stipulation filed at ECF No. 23.

           The parties’ requested changes and deadlines are reflected in the following table:

                                      CHART OF DEADLINES

                Event(s)                   Current Deadline              Proposed Deadline
   Complete initial expert              September 16, 2022           October 7, 2022
   discovery and exchange
   preliminary expert reports
   Plaintiffs file their                September 30, 2022           October 21, 2022
   supplemental brief supporting
   their motion for a preliminary
   injunction
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  Defendants file their opposition    October 28, 2022            November 18, 2022
  to Plaintiffs’ supplemental brief
  Plaintiffs file their reply brief   November 18, 2022           December 14, 2022
  supporting their motion for a
  preliminary injunction

        If the Court is amenable and agrees with the modifications requested in this letter, we
would appreciate if the Court would execute the “So Ordered” paragraph at the bottom of this
letter. We thank the Court for its consideration of this matter. If the Court has any questions, we
would be pleased to respond.

                                           Respectfully,



                                       Dominique J. Carroll


cc:    All Counsel of Record (via ECF)




                       SO ORDERED this _____ day of September, 2022



                         ______________________________________
                             Honorable Anne Y. Shields, U.S.M.J.
